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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

     COURTNEY COOPER and ABDO P.
     FAISSAL, derivatively on behalf of
     PELOTON INTERACTIVE, INC.,

                             Plaintiffs,

     v.

     KAREN BOONE, JON CALLAGHAN,
     ELIZABETH F. CODDINGTON,
     THOMAS CORTESE, JOHN FOLEY,
     JAY HOAG, BARRY MCCARTHY,
                                                       Case No.: 1:23-cv-07193-MKB-MMH
     ANGEL L. MENDEZ, JONATHAN
     MILDENHALL, PAMELA THOMAS-
     GRAHAM, AND JILL WOODWORTH,

                             Defendants,

     and

     PELOTON INTERACTIVE, INC.,

                    Nominal Defendant.


                STIPULATION AND ORDER REGARDING STAY OF ACTION

           WHEREAS, on September 27, 2023, Plaintiffs Courtney Cooper and Abdo P. Faissal filed

  this shareholder derivative action (the “Action”) on behalf of nominal defendant Peloton

  Interactive, Inc. (“Peloton” or the “Company”) against defendants Karen Boone, Jon Callaghan,

  Elizabeth F. Coddington, Thomas Cortese, John Foley, Jay Hoag, Barry McCarthy, Angel L.

  Mendez, Jonathan Mildenhall, Pamela Thomas-Graham, and Jill Woodworth (the “Individual

  Defendants,” and collectively with the Company, the “Defendants”);

           WHEREAS, the Action includes allegations related to those in a putative securities class

  action captioned Solomon v. Peloton Interactive, Inc., No. 1:23-cv-04279-MKB-JRC (E.D.N.Y.)

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  currently pending in this Court (the “Securities Class Action”), which asserts federal securities

  claims against Peloton and certain of its current or former officers;

         WHEREAS, while Plaintiffs believe (and Defendants dispute) the Action has merit

  independent of and is not dependent on the outcome of the Securities Class Action, the parties

  agree that the resolution of the motion(s) to dismiss that the defendants in the Securities Class

  Action anticipate filing may help inform the manner in which the Action proceeds;

         WHEREAS, the parties agree that it would serve the interests of justice, efficiency, and

  judicial economy to temporarily stay the Action pending the final resolution of any and all

  motion(s) to dismiss in the Securities Class Action, including the final and full resolution of any

  appeals taken from any order(s) related to such motion(s) to dismiss;

         WHEREAS, on December 7, 2023, the Court denied without prejudice the parties’

  proposed stipulation to stay the Action in light of the fact that no pre-motion conference request

  had been filed in the Securities Class Action;

         WHEREAS, on December 19, 2023, the defendants in the Securities Class Action filed a

  pre-motion conference letter regarding their anticipated motion to dismiss the Securities Class

  Action complaint;

         WHEREAS, on December 21, 2023, the Court denied the defendants’ request for a pre-

  motion conference in the Securities Class Action and entered a briefing schedule for defendants’

  motion to dismiss;

         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the parties

  through their undersigned counsel of record and subject to approval of the Court, as follows:




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         1.      Defendants, through their undersigned counsel, hereby accept service of the

  summons and complaint in this Action without waiver of any rights or defenses except as to

  sufficiency of service.

         2.      The above-captioned Action, including Defendants’ time to answer, move, or

  otherwise respond to the Verified Stockholder Derivative Complaint, shall be stayed, as shall all

  other matters and deadlines in the Action, until all motion(s) to dismiss in the Securities Class

  Action have been finally and fully resolved on the merits, including that any appeals have been

  concluded or the time for seeking appellate review has passed with no further action from the

  parties in the Securities Class Action. Defendants shall have no obligation to answer, move, or

  otherwise respond to the Verified Stockholder Derivative Complaint during the pendency of the

  stay of this Action.

         3.      If any other derivative action asserting the same or substantially similar allegations

  to the Action is subsequently filed and not stayed for a similar or longer duration, the parties shall

  have the option to terminate this stay by giving thirty (30) days’ notice in writing via email to the

  undersigned counsel for the opposing parties (the “Option to Terminate”). The parties also have

  the right to file a motion to lift the stay for any reason. Any party who wishes to file a motion to

  lift the stay must meet and confer with the other parties at least fourteen (14) days before either

  filing a motion or requesting a pre-motion conference. In the event Plaintiffs file a motion to lift

  the stay for any reason, Defendants reserve the right to oppose Plaintiffs’ motion to lift the stay.

  In the event that Plaintiffs exercise the Option to Terminate, Defendants reserve the right to file a

  motion to stay, and Plaintiffs reserve their right to oppose such a motion.

         4.      Within 30 days of the stay being lifted for any reason, if the parties do not agree

  that it is appropriate to seek a continuance of the stay from this Court, the parties shall thereafter

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